Case 2:24-cr-00091-ODW     Document 69    Filed 05/15/24   Page 1 of 2 Page ID #:1103




 1
 2
 3
 4
 5
 6
 7
 8
                         United States District Court
 9
                         Central District of California
10
11   UNITED STATES OF AMERICA,                   Case № 2:24-cr-00091-ODW
12                      Plaintiff,               IN CAMERA PROCEEDINGS ON
13         v.                                    EX PARTE EMERGENCY MOTION
14
                                                 TO BE PROVIDED WITH EYE
     ALEXANDER SMIRNOV,                          DROPS AND FOR IMMEDIATE
15                                               SURGERY, [DE-67]
                        Defendants.
16                                               ESSENTIALLY A MOTION FOR
                                                 RECONSIDERATION OF PRIOR
17                                               MOTION FOR MEDICAL
18                                               FURLOUGH OR TRANSPORT TO
                                                 SAN FRANCISCO FOR EYE
19
                                                 SURGERY
20
21         On March 11, 2024, Defendant filed an Emergency Ex Parte motion for
22   medical furlough to receive eye surgery in San Francisco, and transport by the U.S.
23   Marshal’s Service to said surgery as well as any follow-up appointments. After
24   consideration of that request as well as the government’s response, the emergency
25   motion was denied on March 13, 2024. [DE-56]
26         On March 25, 2024, Defendant filed another emergency ex parte application for
27   reconsideration of the earlier denial. [DE-60.] After consideration of the request for
28   reconsideration the motion was again denied. [DE-63, March 26.]
Case 2:24-cr-00091-ODW    Document 69     Filed 05/15/24   Page 2 of 2 Page ID #:1104




 1         On May 1, 2024, the Ninth Circuit affirmed the prior Order of this Court.
 2   [DE-66.]
 3         On May 10, 2024, Defendant filed the instant Emergency Ex Parte Application
 4   renewing the prior motion, seeking (1) Provision of Pain-Reducing Eye Drops, and
 5   (2) A Court Order Scheduling Eye Surgery Forthwith With A Government-Contracted
 6   Doctor, or For A Medical Furlough Under 19 U.S.C. § 3142(i) For Eye Surgery With
 7   Dr. H. George Tanaka. [DE-67.]
 8         Having once again given further consideration of the earlier filings and
 9   especially noting the Declaration of Sean F. Mulryne, co-counsel for the United
10   States, submitted in support of the government’s opposition to the motion, in which
11   counsel states that surgery has been scheduled to take place in less than two weeks,
12   the instant motion is again DENIED as moot.
13
14         IT IS SO ORDERED.
15
16         May 15, 2024
17
18                              ____________________________________
19                                       OTIS D. WRIGHT, II
                                 UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28




                                              2
